                                     2:19-cv-02152-CSB # 51         Page 1 of 1
                                                                                                           E-FILED
Judgment in a Civil Case (02/11)                                             Monday, 11 January, 2021 09:21:35 AM
                                                                                      Clerk, U.S. District Court, ILCD
                             UNITED STATES DISTRICT COURT
                                                     for the
                                            Central District of Illinois

BARRY S. WOLFE,                                      )
                                                     )
                    Plaintiff,                       )
                                                     )
                               vs.                   )        Case Number: 19-2152
                                                     )
WENDY CHAMBERS, RAMON                                )
CLIMACO, and DOCTOR,                                 )
                                                     )
                    Defendants.                      )

                                        JUDGMENT IN A CIVIL CASE

  ☐ JURY VERDICT. This action came before the Court for a trial by jury.                    The issues
have been tried and the jury has rendered its verdict.

  ☒ DECISION BY THE COURT.                        This action came before the Court, and a decision has
been rendered.

      IT IS ORDERED AND ADJUDGED that Plaintiff, Barry S. Wolfe’s, action against
Defendants Wendy Chambers, Ramon Climaco, and Doctor, is dismissed; Plaintiff shall recover
nothing on his claims against each of the named Defendants.

Dated: 1/11/2021

                                                              s/ Shig Yasunaga
                                                              Shig Yasunaga
                                                              Clerk, U.S. District Court
